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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                  :
                                                  :
IN RE: APPLICATION FOR ACCESS TO                  :       Case No.:              21-mc-90 (RC)
VIDEO EXHIBITS                                    :
                                                  :       Re Document Nos.:      1, 6
                                                  :
                                                  :
                                                  :

                                             ORDER

    GRANTING PETITIONER’S APPLICATIONS FOR ACCESS TO VIDEO AND AUDIO EXHIBITS


          For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Petitioner’s Application for Access to Video Exhibits (ECF No. 1)

and Supplemental Application for Access to Video Exhibits (ECF No. 6) are GRANTED. It is

hereby:

          ORDERED that the United States shall make available to the Press the video and audio

exhibits that accompanied its criminal complaint and Memorandum in Support of Pretrial

Detention, Criminal Case ECF No. 7, as well as the video and audio exhibits that accompanied

its Opposition to Defendant’s Motion to Revoke Detention Order and For Pretrial Release,

Criminal Case ECF No. 35, consistent with the procedures set forth in Standing Order 21-28.

This includes all video and audio exhibits relied on in the April 6th and 7th, 2021 hearing as well

as the September 16th, 2021 hearing.

          It is FURTHER ORDERED that the Press Coalition is granted permission to record,

copy, download, retransmit, and otherwise further publish these video and audio exhibits.

          SO ORDERED.
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Dated: December 6, 2021                             RUDOLPH CONTRERAS
                                                    United States District Judge




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